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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

    AARON FARRER,                                      Case No. 1:16-cv-3418-TWP-DML

                           Plaintiff,

    vs.

    INDIANA UNIVERSITY, et al.

                           Defendants.


                      FOURTH MOTION FOR EXTENSION OF TIME
                        TO FILE STIPULATION OF DISMISSAL

          Come now Defendants Indiana University, Jason Casares, Amber Monroe, Vivian

 Hernandez, Katheryn A. Shirk, Adam Herman, Harold Goldsmith (collectively the “IU

 Defendants”), through counsel and respectfully request the Court continue the deadline to file

 Stipulation of Dismissal by two (2) weeks, to and including August 8, 2018. In support, the IU

 Defendants state:

          1.    The current deadline to file Stipulation of Dismissal is July 25, 2018.

          2.    This deadline has not yet passed.

          3.    The parties have collected approximately half of the signatures required to fully

 execute the Settlement Agreement to date.

          4.    Good cause exists to continue this deadline due to the fact that the parties have a

 finalized settlement agreement and are gathering signatures from clients.

          5.    The Parties reasonably require an additional two weeks to obtain these signatures.

          6.    The requested extension is not made for purposes of undue delay.

          7.    The undersigned contacted Plaintiff’s counsel, Tracey Turner, and Ms. Zerfoss’

 counsel, Peter Morse, regarding this request via email the morning of July 25, 2018. As of the
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 time of this filing, neither party as responded to the undersigned’s request.

        WHEREFORE, Indiana University, Jason Casares, Amber Monroe, Vivian Hernandez,

 Katheryn A. Shirck, Adam Herman, Harold Goldsmith respectfully request this Court continue the

 deadline to file the Stipulation of Dismissal by two (2) weeks, to and including August 8, 2018.

                                       Respectfully submitted,

                                       /s/Hamish S. Cohen
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                                       Attorneys for Defendants Indiana University, Jason
                                       Casares, Amber Monroe, Vivian Hernandez, Katheryn
                                       Shirk, Adam Herman and Harold Goldsmith



  

  

  

  

  

  

  

  

  

  

  

  

  

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                                   CERTIFICATE OF SERVICE

        I hereby certify that on July 25, 2018, a copy of the foregoing was filed electronically.

 Service of this filing will be made on ECF-registered counsel by operation of the court’s

 electronic filing system. Parties may access this filing through the Court’s system.

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                                                       /s/ Hamish S. Cohen
                                                       Hamish S. Cohen

  




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